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                         Exhibit 1
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
   IN RE: AUTOMOTIVE PARTS                        Master File No. 12-md-02311
   ANTITRUST LITIGATION

                                                  Hon. Sean F. Cox
                                                  Mag. Judge R. Steven Whalen

   THIS DOCUMENT RELATES TO:

   ALL END-PAYOR ACTIONS


                    DECLARATION OF JEFFREY N. LEIBELL

         I, Jeffrey N. Leibell, declare:

         1.     I am Chief Legal and Financial Officer of Financial Recovery

   Services, LLC d/b/a Financial Recovery Strategies (“FRS”). In that capacity, my

   responsibilities include handling legal matters.

         2.     I submit this declaration in support of FRS’s Motion to Intervene.

   This declaration is based on my personal knowledge of FRS’s and its clients’

   claims, as well as the relevant documents and communications.

         3.     Various automobile insurers (“Insurers”) have retained FRS to file

   and manage their claims in the End-Payor Settlements of the multi-district

   litigation captioned above. Certain Insurers have assigned to FRS a contingent

   right to recover proceeds in connection with each claim it files on their behalf.
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         4.     The Insurers, as subrogees, have many thousands of claims relating to

   vehicles covered by the End-Payor Settlements because Insurers made indemnity

   payments to End-Payor class members for eligible vehicles deemed total losses

   during class periods spanning 23 years. Collecting and submitting data about such

   a large volume of vehicles would be extremely complex, burdensome, and

   expensive for FRS and the Insurers.

         5.     On behalf of FRS and the Insurers, I met and conferred by telephone

   with counsel for the End-Payor Plaintiffs, Marc Seltzer and William V. Reiss, on

   January 24, 2019. On January 14, 2019, in anticipation of that call, Robin

   Niemiec, FRS’s Chief Operating Officer, sent to Mr. Reiss a research

   memorandum that FRS prepared concerning the subrogation issue. Ex. D.

         6.     During that call, class counsel disagreed with FRS that the Insurers

   may recover from the End-Payor Settlements as subrogees, and class counsel

   referred FRS to legal authority they believed supported their position. FRS and

   class counsel also discussed potential mechanisms for bringing the legal issue

   regarding subrogation to the attention of the Court in the event that FRS and class

   counsel continued to disagree. Class counsel suggested that the Insurers should

   file claims, wait for them to be rejected, and then appeal that rejection to the Court.

   In response, I explained why it would not be practical to submit claims for many

   thousands of total loss vehicles before resolving the threshold legal question



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   whether such claims would be permitted. In the interest of avoiding litigation, we

   agreed to discuss the matter further at a later point.

         7.     In November 2019, after the further exchange of correspondence on

   the issue, FRS and class counsel, having reached an impasse on the legal validity

   of the Insurers’ claims, agreed to a schedule for submission of the legal issue to the

   Court. Based on that agreement, I did not believe that formal intervention was

   necessary.

         8.     On December 13, 2019, FRS submitted its letter brief to the

   Honorable Marianne O. Battani requesting a declaration that the Insurers have a

   right to recover as subrogees from the End-Payor Settlements. And FRS submitted

   its reply letter brief in support of its request on January 30, 2020.

         9.     FRS submitted to the Settlement Administrator proofs of claim on

   behalf of the Insurers on the following dates:

          American International Group, Inc. (AIG)                          05/04/18
          MAPFRE USA Corp.                                                  10/01/18
          W.R. Berkley Corp.                                                10/01/18
          Utica Mutual Insurance                                            10/01/18
          Mercury Insurance Services                                        11/27/19
          Liberty Mutual Holding Company                                    12/05/19
          Selective Insurance                                               03/12/20




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   The claims for MAPFRE, AIG and Mercury were updated on March 16, 2020, and

   June 16, 2020, to provide claim information for fleet vehicles, i.e., new vehicles

   that those Insurers purchased or leased directly. CSAA Insurance Group, which

   has engaged FRS in connection with submitting claims for total loss vehicles,

   previously submitted its own proof of claim to recover for its fleet vehicles.

            10.   By letter dated March 9, 2020, FRS supplemented the claims of six

   Insurers by notifying the Settlement Administrator that, should the Court grant

   FRS’s request to recognize the Insurers as subrogees entitled to recover from the

   End-Payor Settlements, FRS would further supplement the claims. In that letter,

   which was also sent to class counsel, FRS asked the Claims Administrator to

   “advise FRS immediately” if it has “any objection” the supplementation process

   proposed by FRS. Ex. H at 1-3. Neither the Settlement Administrator nor class

   counsel has ever advised FRS of any objection to the supplementation process

   proposed in FRS’s March 9 letter.

            11.   By email dated June 18, 2020, FRS supplemented the proofs of claim

   previously submitted by two Insurers that had retained FRS after March 9, 2020.

   Ex. I.

            12.   Attached as Exhibit A is a true and correct copy of FRS’s letter brief

   to the Honorable Marianne O. Battani, submitted December 13, 2019.




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         13.   Attached as Exhibit B is a true and correct copy of FRS’s reply letter

   brief to the Honorable Marianne O. Battani, submitted January 30, 2020.

         14.   Attached as Exhibit C is a true and correct copy of an email from

   Robin Niemiec to Adam J. Zapala, Marc M. Seltzer, and Hollis Salzman, copying

   me, dated November 14, 2018.

         15.   Attached as Exhibit D is a true and correct copy of an email from

   Robin Niemiec to William V. Reiss, copying me and attaching an FRS research

   memorandum, dated January 14, 2019.

         16.   Attached as Exhibit E is a true and correct copy of an email from me

   to Marc M. Seltzer and William V. Reiss, copying Robin Niemiec, attaching a

   draft letter brief from FRS to the Honorable Marianne O. Battani, dated

   October 24, 2019.

         17.   Attached as Exhibit F is a true and correct copy of an email from

   Chanler A. Langham to me, copying Adam Zapala, Hollis Salzman, and Marc

   Seltzer and attaching a letter from Adam J. Zapala, Hollis Salzman, and Marc M.

   Seltzer to me, dated November 2, 2019.

         18.   Attached as Exhibit G is a true and correct copy of an email from

   Chanler A. Langham to me, Adam Zapala, Hollis Salzman, Marc Seltzer, and

   Richard A. Wojtczak, copying Robin Niemiec, attaching a proposed stipulation,

   dated November 26, 2019.



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         19.    Attached as Exhibit H is a true and correct copy of an email from me

   to Chanler Langham, copying Marc Seltzer, Hollis Salzman, Adam Zapala, and

   Robin Niemiec, attaching a copy of a letter from me to GCG, the Settlement

   Administrator, dated March 10, 2020.

         20.    Attached as Exhibit I is a true and correct copy of an email dated

   June 18, 2020 from Angela Rivera, FRS Project Manager, to the Claims

   Administrator’s settlement-specific email inbox, copying Brian Pinkerton, the

   Claims Administrator’s Project Manager for the End-Payor Settlements, attaching

   a copy of the March 9, 2020 letter to GCG, the Settlement Administrator, and a

   copy of a limited power of attorney executed by one of FRS’s clients.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

   foregoing is true and correct.




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   Executed this 18th day of June 2020, in Great Neck, New York.


                                                    _________________________
                                                    Jeffrey N. Leibell




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